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As Triadou notes below, the March 27 Order Was issued in response
to motions submitted by the lndividual Defendants. The Order does
not address Triadou, nor did Triadou seek to join the lndividual

 

 

 

; Defendants' motions. Accordingly, to the extent Triadou needs
;Z':"re";: ;;;:j :;j_:;;: "clarification" as to the scope of the Order, it dismisses the claims
Emai[: f dskakel@blankrl)'m“e L;:m against the lnleldual Defendants Only.

‘ ‘ ill so oRDERED.
~ APR 651 2,918“ April 2, 2018
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The Honorable Alison J. Nathan
United States District Judge

United States District Court - S.D.N.Y.
40 Foley Square, Room 2102

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UNlTED STATES D|STR¥CT JUDGE
New York, New York 10007

Re: City of Almaty, Kazakhstan, et ano. v. Mukhtar Ablyazov, et al.,
No. 15-CV-5345 (AJN)(KHP)

Dear Judge Nathan:

We represent Triadou SPV S.A. (“Triadou”) and respectfully submit this letter seeking
clarification of the Court’s March 27, 2018 Memorandum Opinion and Order dismissing the claims
of the City of Almaty and BTA Bank (together, “Almaty/BTA”) for unjust enrichment, conversion,
and constructive trust. (ECF 592) (the “March 27 Order”). Specifically, Triadou seeks clarification
as to the language of the March 27 Order’s conclusion section and docket text, Which state:
“Ci'ossclaim Plaintiffs’ claims for unjust enrichment (Count Eight), conversion (Count Nine) and
constructive trust (Count Ten) are dismissed as time-barred.” (ECF 592 at 10; ECF 592 docket
text). Triadou is unclear Whether the Court dismissed those claims only as to the lndividual
Defendants, or as to all defendants, and seeks clarification on that limited issue.

While Triadou recognizes that the Court issued the March 27 Order in response to motions
submitted by the Individual Defendants, and that the text of the Order analyzes the statute of
limitations issue With respect to each lndividual Defendant, the reasoning underlying the Court’s
holding appears to apply to all defendants (See ECF 592 at 9 (“the Crossclaim Plaintiffs pleaded
these three claims [for unjust enrichment, conversion, and constructive trust] against the lndividual
Defendants as a collective unit ” “or as the ‘Ablyazov- Khiapunov Gioup,’ not specifying how it
applied to each defendant sepai ate y’ ’;) see also ia’. at 10 (finding statute of limitations for unjust
enrichment claim “first accrued against llyas Khrapunov some time in 2008 When his entity, SDG,
received the allegedly illicit funds”). Further, to interpret the dismissal as applying to all defendants
is consistent With the Court’s prior dismissal of other claims, including Almaty/BTA’s alter ego and
replevin claims. (ECF 174 at 32 (dismissing Counts 9 and 12 of ECF 49); see also ECF 219
(removing those claims)).

Accordingly, Triadou respectfully seeks clarification as to Whether the Court’s dismissal of
Almaty/BTA’s conversion, constructive trust, and unjust enrichment claims Was ordered as to all
defendants

 
 

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Thank you for your consideration
Respectfully submitted,

s/ Deborah A. Skakel
Deborah A. Skakel

